Case 1:08-cv-00991-PLM ECF No. 423 filed 08/03/18 PageID.6788 Page 1 of 1

                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


ROBERT CARLSON,

          Plaintiff,                      Case No. 1:08−cv−00991−PLM

   v.                                     Hon. Paul L. Maloney

SCOTT FEWINS, et al.,

          Defendants.
                                    /



                                    ORDER
       The Court has been informed of the parties' agreement to settle this
matter and hereby orders that appropriate stipulated dismissal papers,
prepared for entry by United States District Judge Paul L. Maloney, shall be
filed with the Court by 12:00 noon on Monday, August 6, 2018. The terms of
the settlement are confidential; a signed copy of the written settlement
agreement has been received by the undersigned.

        IT IS SO ORDERED.


Dated: August 3, 2018                            /s/ Phillip J. Green
                                                PHILLIP J. GREEN
